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                           IN THE UNITED STATES DISTRICT COURT
                          FOR THE SOUTHERN DISTRICT OF FLORIDA
                                      MIAMI DIVISION


   PAIGE FINKELSTEIN, M.D.,                         )
                                                    )
            Plaintiff,                              ) Case No. 1:23-CV-20188-RKA
                                                    )
   v.                                               )
                                                    )
   MOUNT SINAI MEDICAL CENTER OF                    )
   FLORIDA, INC., a Florida Not For Profit          )
   Corporation, and KFIR BEN-DAVID, M.D.,           )
                                                    )
            Defendants.


         DEFENDANTS’ MOTION TO AMEND ORDER ON MOTION TO STRIKE

            On the morning of February 7, 2023, the Court struck from the record or sealed three of

  Plaintiff Paige Finkelstein, M.D.’s filings, each of which contained irrelevant and scurrilous

  materials regarding Defendant Kfir Ben-David’s personal life. ECF No. 28. The Court also ordered

  from the bench that Plaintiff was not to file such materials in the future. Yet only hours after the

  hearing, Plaintiff went ahead and submitted the most inflammatory of the sealed District Court

  filings to the Accreditation Council for Graduate Medical Education (“ACGME”), which is

  reviewing a separate complaint from Plaintiff concerning Dr. Ben-David and Defendant Mount

  Sinai Medical Center of Florida, Inc. (“MSMC” or the “Hospital”). Plaintiff also submitted the

  same District Court filing to a Special Review Committee at the Hospital that was convened

  months ago to review Plaintiff’s ACGME allegations. Plaintiff did all of this without so much as

  advising these recipients that this Court had ordered that filing sealed and removed from the public

  docket.

            In light of this, Defendants MSMC and Dr. Ben-David (together “Defendants”) now move

  the Court to amend its February 7, 2023 Order to specifically direct that Plaintiff may not file with
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  any other adjudicative body, or otherwise disseminate to any third party, the filings that this Court

  removed from the public docket. In support of this motion, Defendants state as follows:

          1.      On February 1, 2023, Defendants moved under Rule 12(f) to strike certain

  allegations in the Amended Complaint. ECF No. 17 at 18-20. On February 6, 2023, Defendants

  filed a motion to strike Plaintiff’s Reply in support of her Motion for Temporary Injunction (ECF

  No. 15) and supporting Declaration (ECF No. 16), along with a motion for expedited

  consideration. See ECF No. 19 (Motion to Strike and Motion to Expedite). Defendants amended

  that motion early on February 7. See ECF No. 20 (Amended Motion). Defendants asserted that

  Plaintiff’s submissions included materials concerning Dr. Ben-David’s private life that were

  irrelevant to Plaintiff’s claims, and were submitted by Plaintiff for the sole purpose of

  embarrassing and harassing Dr. Ben-David.

          2.      The Court convened a hearing on Defendants’ motions at 11:30 AM on February

  7. The Court concluded that Plaintiff’s scurrilous allegations against Dr. Ben-David were

  irrelevant, and therefore struck Plaintiff’s Amended Complaint (ECF No. 1-2). The Court also

  ordered that Plaintiff’s Reply and Declaration, which contained additional irrelevant assertions

  about Dr. Ben-David’s personal life, be sealed so that they would not appear on the public docket.

  See ECF No. 28 (Paperless Order).

          3.      At the hearing, counsel for Dr. Ben-David requested that the Court order Plaintiff

  not to make any other public filings in this case containing irrelevant and salacious assertions

  concerning Dr. Ben-David’s personal life. The Court noted from the bench it already had made

  clear that its order foreclosed future filings of this sort.

          4.      Plaintiff did not get the message. Within hours of the hearing’s conclusion, Plaintiff

  went ahead and emailed copies of her Declaration and its exhibits—the very documents the Court


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  had just ordered sealed—to members of a Special Review Committee at MSMC. That Committee

  had been convened to evaluate the substance of Plaintiff’s complaint about Defendants to the

  Accreditation Council for Graduate Medical Education (“ACGME”).1 Plaintiff also advised that

  she was sending the same materials to the ACGME and perhaps other third parties.2 It is

  inconceivable that Plaintiff took these actions without her counsel’s blessing. Indeed, Plaintiff had

  previously advised the Special Review Committee in November, 2022 that she declined to

  participate in the Committee’s review on the advice of her counsel (the same counsel who

  represents her in the present matter).

         5.      Plaintiff’s latest dissemination of her irrelevant allegations about Dr. Ben-David’s

  personal life violates this Court’s February 7 Order. It cannot be that the Court ordered Plaintiff’s

  Declaration and exhibits sealed—and thus removed from the public docket—only to leave Plaintiff

  free to circulate those same District Court filings as she sees fit, as though they had never been the

  subject of this Court’s sealing order. Plaintiff’s effort to circumvent this Court’s Order in this

  cynical fashion should not be permitted.

         6.      What is more, Plaintiff has once again disseminated these materials solely to

  disparage and embarrass Dr. Ben-David in an effort to coerce an unwarranted settlement. Having

  declined to supply the Committee with any potentially relevant evidence, Plaintiff cannot now

  claim any legitimate reason to disseminate to the Committee (or ACGME) irrelevant personal

  information about Dr. Ben-David.

         7.      Defendants therefore move that the Court amend its February 7 Order to



  1
   The ACGME is the body responsible for accrediting graduate medical education programs, such
  as the surgical residency program at MSMC.
  2
   A copy of Plaintiff’s February 7, 2023 email to the Special Review Committee is attached as
  Exhibit 1.
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  specifically direct Plaintiff not to file or otherwise publicly disseminate to any other adjudicative

  body, or to any other third person, the materials that this Court specifically ordered stricken or

  sealed. In light of Plaintiff’s flouting the Court’s order, the Court may wish to consider a sterner

  admonition, such as an order to show cause. See Fed. R. Civ. P. 11(c)(3).

         8.      Separately, Defendants request that the Court amend its Order to seal so that it

  extends not only to Plaintiff’s Reply and Plaintiff’s Declaration, but also to Defendants’ Motion

  to Dismiss (ECF No. 17) and Defendants’ Motions to Strike (ECF Nos. 19 and 20). By necessity,

  those filings quote and refer to the statements by Plaintiff that have been either stricken from the

  record or sealed. Defendants neglected to include this request at the February 7 hearing, but for

  the same reasons the Amended Complaint, Reply, and Declaration were removed from the public

  record, Defendants’ related filings should likewise be placed under seal. See Fed. R. Civ. P. 60(a)

  (court may correct an “oversight or omission” in an order). Additionally, consistent with this

  Court’s ruling, Defendants note that another version of the Amended Complaint is contained at

  ECF No. 24-22 and ask the Court to amend its order to also strike that version of the Amended

  Complaint and remove it from the public record.

         10. Pursuant to Local Rule 7.1(a)(3), undersigned counsel Martin Goldberg certifies that,

  on February 9, 2023, his office conferred with Plaintiff’s counsel regarding this motion and the

  relief sought herein. Plaintiff objects to the relief and intends to oppose the motion.

         WHEREFORE, Defendants respectfully request that this Court grant Defendants’ motion

  and amend the Court’s February 7 Order (ECF No. 28) to (1) order that Plaintiff may not file before

  any adjudicative body, or otherwise publicly disseminate, the extraneous and scurrilous filings that

  this Court has already ordered stricken or sealed; and (2) seal Defendants’ Motion to Dismiss (ECF




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  No. 17) and Defendants’ Motions to Strike (ECF Nos. 19 and 20), and strike and remove from the

  public record another version of the Amended Complaint (ECF No. 24-22).

  Dated: February 9, 2023

                                                 Respectfully submitted,


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  3
      Mr. Orseck is making application for admission to the S.D. Fla. Bar.
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                                  CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that a true and correct copy of the foregoing document was served

  via transmission of Notices of Electronic Filing generated by CM/ECF on February 9, 2023, or in

  the manner specified on all counsel or parties of record on the Service List below.

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